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 1   Jo Ann Niemi (SBN 020873)
     ANAPOL WEISS
 2
     8700 E. Vista Bonita Drive, Suite 268
 3   Scottsdale, Arizona 85255
     Telephone: (480) 515-4745
 4
     Facsimile: (480) 515-4744
 5   lcoben@anapolweiss.com
     jniemi@anapolweiss.com
 6
     Minute Entries: ME@anapolweiss.com
 7
     Attorneys for Plaintiffs
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 9
                          IN THE UNITED STATES DISTRICT COURT
10
11                                FOR THE DISTRICT OF ARIZONA
12
13   DARIA BRILL, ANDREA MORALES,                  CASE NO.
14   and GALE ZYLSTRA, on Behalf of
     Themselves and All Others Similarly
15   Situated,
16
                    Plaintiffs,                    CLASS ACTION COMPLAINT
17
     vs.                                           JURY TRIAL DEMANDED
18
19   BANK OF AMERICA, N.A., and
     DOES 1-10,
20
21                         Defendants.

22
23
                                   CLASS ACTION COMPLAINT
24
            Plaintiffs, Daria Brill, Andrea Morales, and Gale Zylstra, by and through
25
     undersigned counsel, on behalf of themselves and all persons similarly situated,
26
     complain and allege as follows on personal knowledge, investigation of counsel, and
27
     information and belief:
28
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 1                                  NATURE OF THE CASE
 2          1.     This is a civil action seeking monetary damages, restitution, declaratory
 3   relief, and injunctive relief from Bank of America, N.A. (“BofA”) arising out of BofA’s
 4   deceptive, fraudulent, and illegal scheme to exploit one of the most vulnerable groups
 5   imaginable – releasees from Arizona corrections facilities.
 6          2.     If these individuals want their own money after they are released from
 7   prison, they are forced to accept a “consumer relationship” with BofA. As a result of
 8   this relationship, BofA issues these individuals a debit card, in connection with which
 9   BofA charges them exorbitant and unusual fees once they are released from an Arizona
10   corrections facility. BofA refers to this card as the BofA CashPay Debit Card. The fee
11   structure for the BofA CashPay Debit Card, and other features devised by BofA, by
12   turns dissuades and disincentivizes Arizona releasees from accessing their own money,
13   and penalizes them with excessive or unusual fees when they do.
14          3.     BofA is the exclusive provider of debit cards issued to Arizona inmates
15   upon their release from an Arizona corrections facility. At the time of release, an
16   Arizona releasee with a balance in her inmate account is forced to receive funds on a
17   non-reloadable BofA debit card, the BofA CashPay Debit Card.
18          4.     When an Arizona inmate is released, they are supposed to receive a one-
19   page form with a BofA CashPay Debit Card attached. The one-page form simply
20   contains instructions on how to activate the card. The form does not describe any of the
21   fees, or other terms and conditions, that govern the debit card’s use. Arizona releasees
22   are never given an opportunity to review or agree to any terms and conditions governing
23   the debit card’s use prior to receiving it. There is no period allowing for the withdrawal
24   of funds so that releasees can enter into alternative banking or commercial arrangements
25   that might be more favorable to releasees.
26          5.     If Arizona releasees want to use the BofA CashPay Debit Card to access
27   their own money, they risk incurring numerous fees that ordinary consumers would
28   never be charged. For instance, there is a $15.00 fee per transaction at a bank teller


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 1   window. There also is a $2.50 fee to speak with a customer service agent over the
 2   telephone. If an Arizona releasee wishes to withdraw money at an ATM, there is a
 3   $1.50 charge by BofA for each withdrawal, even at an in-network ATM withdrawal (i.e.,
     it costs $1.50 to withdraw money at a BofA ATM). Not only do these and other fees
 4
     dissuade or disincentivize Arizona releasees from using their debit cards (and accessing
 5
     their own money), but to the extent these fees exceed the balance on a releasee’s BofA
 6
     CashPay Debit Card, the fees constructively prohibit unfettered access to one’s own
 7   money. For example, to “cash out” a balance in an amount that cannot be dispensed at
 8   an ATM machine, a releasee would incur a $15.00 window teller fee that could
 9   substantially diminish, or even exceed, the remaining balance on the card.
10          6.     The terms and conditions governing the above fees and other fees are not

11   fully or adequately disclosed to Arizona releasees. The fee schedule, in fact, is not

12   disclosed on the activation instruction sheet that is supposed to accompany the BofA

13   CashPay Debit Card.
14          7.     Further, confusingly, BofA’s publicly available FAQ about CashPay Debit
15   Cards issued to non-releasee consumers conflicts with the fees and other terms associated
16   with CashPay Debit Cards issued to Arizona releasees. For instance, BofA’s publicly
17   available FAQ states that cardholders may use their BofA CashPay Debit Cards
18   “everywhere Visa debit cards are accepted . . . and at ATMs for any portion of your

19   available balance as often as you like.” See Ex. A. But, BofA neglects to mention that

20   both in-network (and out-of-network) ATM withdrawals will incur a fee for Arizona

21   releasees (unlike other consumers) attempting to use their BofA CashPay Debit Cards.

22   BofA also neglects to mention that not all ATMs can dispense below certain amounts,

23   requiring the releasee to make a teller-assisted transaction and incur the window fee. BofA

24   also publicly claims that you can call the number on the back of the BofA CashPay Debit

25   Card to ask questions, see id., but fails to note that Arizona releasees (unlike other

26   consumers) who do so will incur a fee. Finally, the terms and conditions on BofA’s

27   publicly available website are not the same as the terms that purportedly govern Arizona

28   releasees’ CashPay Debit Cards.


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 1          8.      Arizona releasees are at the greatest risk and in the greatest need of support
 2   upon their release, as they re-acclimate themselves to living in society. Every cent
 3   counts for releasees who are coming out of prison without an immediate means of
 4   income, or sometimes even a place to go. BofA’s array of unilaterally-imposed,
 5   undisclosed and/or inadequately disclosed, and unusual fees unfairly depletes Arizona
 6   releasees’ funds for simple, routine transactions, at the exact time when these individuals
 7   need their money the most; indeed, BofA’s scheme even dissuades Arizona releasees
 8   from accessing their own funds altogether.
 9          9.      In sum, BofA’s interference with Arizona releasees’ possessory interest in
10   their own money deprives Arizona releasees from their own money to which they are
11   rightfully entitled.
12                                JURISDICTION AND VENUE
13          10.     This Court has original jurisdiction of this action under the Class Action
14   Fairness Act of 2005. Pursuant to 28 U.S.C. §§ 1332(d)(2) and (6), this Court has
15   original jurisdiction because the aggregate claims of the putative Class exceed
16   $5 million, exclusive of interest and costs, and at least one of the members of the
17   proposed classes is a citizen of a different state than BofA.
18          11.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because
19   BofA is subject to personal jurisdiction here and regularly conducts business in this
20   District, and because a substantial part of the events or omissions giving rise to the
21   claims asserted herein occurred in Arizona and in this District.
22                                         THE PARTIES
23          12.     Plaintiffs Daria Brill, Andrea Morales, and Gale Zylstra are residents of
24   Arizona.
25          13.       Defendant Bank of America, N.A. (“BofA”) maintains its headquarters
26   and principal place of business in Charlotte, NC. BofA regularly and systematically
27   conducts business throughout Arizona and this District, among elsewhere. Among other
28   things, BofA is engaged in the business of providing retail banking services, including


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 1   the issuance of debit cards, to millions of consumers, including Plaintiffs and members
 2   of the Class.
 3          14.      Defendant Does 1-10, upon information and belief, are corporations,
 4   associations, individuals, or other legal entities that are currently unknown to Plaintiffs
 5   and represent the true names or capacities of the legal entities that execute, authorize, or
 6   are otherwise responsible for the conduct and damages alleged herein.
 7                           COMMON FACTUAL ALLEGATIONS
 8          A.       Arizona Releasees
 9          15.      There are over 40,000 inmates in the direct or indirect custody of the
10   Arizona Department of Corrections at any given time, housed in approximately 16
11   corrections complexes. The department releases more than 19,000 inmates each year.
12          16.      Any money an inmate may have possessed at the time of incarceration is
13   placed into a custodial account while the inmate remains incarcerated at an Arizona
14   corrections facility. Subsequent funds may be deposited (or withdrawn) into this
15   account while the inmate is incarcerated. For example, an inmate may earn funds
16   through work programs, or receive funds sent by friends or family.
17          17.      Any funds an inmate does not spend while incarcerated are the property of
18   the inmate and returned upon release.
19          18.      Arizona releasees receive money they possessed while incarcerated on a
20   debit card issued by BofA, which BofA refers to as the “CashPay Debit Card.” The
21   terms of the BofA CashPay Debit Card are non-negotiable and not adequately disclosed.
22   If Arizona releasees want to access their own money, they must accept the BofA
23   CashPay Debit Card’s terms.
24          19.       Arizona releasees are not given or otherwise made aware of the terms
25   and conditions governing the BofA CashPay Debit Card prior to being released. Upon
26   being released, they are simply handed an envelope which contains a BofA CashPay
27   Debit Card and activation instruction sheet.
28


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 1           B.    BofA’s Debit Card Monopoly
 2           20.   BofA imposes whatever terms and conditions it wishes on recipients of the
 3   BofA CashPay Debit Card. BofA has perfected its scheme through two principal means.
 4           21.   First, since at least 2012, BofA has been the exclusive issuer of debit cards
 5   to Arizona releasees. By securing an exclusive arrangement, BofA has insulated itself
 6   from normal competitive market forces.
 7           22.   Second, BofA exploits a current loophole in federal law that curbs banks’
 8   predatory practices designed to take advantage of debit cardholders. The Electronic Fund
 9   Transfer Act (“EFTA”), 15 U.S.C. § 1693 et seq. and accompanying regulations, protect
10   most consumers’ rights in electronic funds transactions, including debit transactions.
11   The primary purpose of the EFTA “is the provision of individual consumer rights.” 15
12   U.S.C. § 1693(b). By way of example, the EFTA and its enabling regulations make it
13   illegal to require a consumer to receive payroll benefits (i.e., salary) in the form of a
14   prepaid debit card, because the fees associated with accessing money loaded onto a debit
15   card essentially reduce the total amount of money the consumer rightfully earned and to
16   which she is rightfully entitled.
17           23.   However, the EFTA’s current enabling regulations are ambiguous as to
18   whether debit cards provided to releasees, such as the BofA CashPay Debit Card, fall
19   within the regulations’ ambit. For instance, Regulation E defines a “payroll card
20   account” as an account to which “electronic fund transfers of the consumer’s wages . . .
21   are made on a recurring basis.” 12 C.F.R. § 1005.2(b)(2). Some argue that the one-time
22   payout of money a releasee accumulated while incarcerated is not a “recurring” fund
23   transfer.1 The same has been argued about government benefits, such as SSA disability
24   benefits or child support, issued via debit card. In other words, current Regulation E
25   does not expressly protect Arizona releasees or recipients of government benefits.
26
27   1
       See, e.g., Prison Policy Initiative, Comments to Proposed Amendments to Regulation
28   E (Mar. 18, 2015) (Ex. E).


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 1            24.    In December 2014, the Consumer Financial Protection Bureau (“CFPB”)
 2   announced proposed amendments to Regulation E, to address in part perceived gaps or
 3   loopholes. See 79 Fed. Reg. 77102 et seq. (Dec. 23, 2014). One proposed amendment
 4   would provide additional protections to recipients of “government benefits” in the form
 5   of debit cards. See id.
 6            25.    Unfortunately, as currently proposed, the amendments to Regulation E
 7   would not classify releasees’ receipt of their money on a BofA CashPay Debit Card as
 8   either a “government benefit” or a traditional consumer debit transaction (such as payroll
 9   benefits).
10            26.    Thus, even if Regulation E is amended, Arizona releasees who receive a
11   BofA CashPay Debit Card will be one of the few subsets of consumers, if not the only
12   subset, which are not protected by the EFTA. This means that BofA may continue to
13   exploit Arizona releasees who are forced to receive and use BofA CashPay Debit Cards
14   if they ever want to access their own money.
15            C.     Plaintiffs’ Experience with the BofA CashPay Debit Card
16                   1. Plaintiff Angela Morales
17            27.    Plaintiff Angela Morales was released from an Arizona corrections facility
18   in July 2016.
19            28.    Upon her release, Ms. Morales was given a BofA CashPay Debit Card
20   loaded with her money that she possessed or accrued while she was incarcerated. She
21   was not told the balance on her card. A true and correct copy of the BofA CashPay
22   Debit Card handed to her is attached as Ex. B.
23            29.    The debit card came with a sheet from BofA that explained how to activate
24   the card, and an FAQ about what BofA does with cardholders’ account information. See
25   Ex. C.
26            30.    In her instance, the debit card also came with a pamphlet entitled “Bank of
27   America, Arizona Department of Corrections CashPay Visa / ATM Deposit
28   Agreement.” See Ex. D. Buried in the pamphlet is a “Schedule of Bank Fees,” which is


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 1   excerpted (and enlarged) below:
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18          31.    Among the unusual fees is a $2.50 fee to speak with a BofA customer
19   service agent via telephone, and a $15.00 per transaction fee for seeking window teller
20   assistance at a BofA branch location.
21          32.    Ms. Morales has incurred at least one fee in connection with her BofA
22   CashPay Debit Card, and/or was subjected to BofA’s oppressive fees and other features
23   in connection with the BofA CashPay Debit Card.
24          33.    When she first went to a BofA branch location to withdraw some money
25   and to learn her balance (as it was not told to her upon release), the window teller could
26   not tell her what the balance was on her card. Ms. Morales subsequently made a second
27   trip to withdraw some of her money and to learn her balance. A different window teller
28   was able to inform Ms. Morales about her balance.


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 1                 2. Plaintiff Gale Zylstra
 2           34.   Plaintiff Gale Zylstra was released from an Arizona corrections facility in
 3   March 2016.
 4           35.   Ms. Zylstra was given a BofA CashPay Debit Card upon her release,
 5   which purportedly possessed the money she earned or accrued during her incarceration.
 6   Ms. Zylstra does not recall receiving any materials along with the BofA CashPay Debit
 7   Card.
 8           36.   Ms. Zylstra incurred at least one fee in connection with her BofA CashPay
 9   Debit Card, and/or was subjected to BofA’s oppressive fees and other features in
10   connection with the BofA CashPay Debit Card.
11           37.   Ms. Zylstra who is confined to a wheelchair, put forth considerable effort
12   to go to a Bank of America branch location to withdraw her money from the BofA
13   CashPay Debit Card. The terms associated with the BofA CashPay Debit Card,
14   including the fees, were particularly onerous to Ms. Zylstra. For instance, if she wished
15   to check her balance by calling a live operator for convenience sake, she would be
16   subject to a $2.50 per call fee.
17                 3. Plaintiff Daria Brill
18           38.   Plaintiff Daria Brill was released from an Arizona corrections facility in
19   May 2016.
20           39.   Upon her release, Ms. Brill was given a BofA CashPay Debit Card that
21   purportedly contained the money she had possessed or accrued while she was
22   incarcerated. She remembers the card being accompanied by a sheet explaining how to
23   activate her card. Ms. Brill does not recall receiving any card agreement, or terms and
24   conditions, along with the BofA CashPay Debit Card.
25           40.   Shortly after her release, Ms. Brill sought to withdraw funds from her
26   BofA CashPay Debit Card. Ms. Brill incurred at least one fee in connection with her
27   BofA CashPay Debit Card, and/or was subjected to BofA’s oppressive fees and other
28   features in connection with the BofA CashPay Debit Card.


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 1           D.      BofA Benefits from Its Wrongful Conduct
 2           41.     BofA significantly benefits from its fraudulent, deceptive, and unfair
 3   conduct.
 4           42.     BofA charges releasees higher fees than they charge other consumers for
 5   identical services or transactions. The below chart shows how the fees BofA charges
 6   releasees in connection with its CashPay Debit Card exceed those it charges ordinary
 7   consumers (see overleaf):
 8                 Transaction Type     BofA “regular              BofA Inmate
                                        consumer” CashPay          CashPay
 9
                                        Debit Card2                Debit Card3
10                 Teller-Assisted      $0                         $15.00
                   Transaction
11
                   Live Agent           1 waived each month,       $2.50 per call
12                 Customer Service     $1.50 for each
                   Telephone Inquiry    additional call
13
                   International        2.00%                      3.00%
14                 Transaction Fee
15                 Card Replacement     1 waived per year,         $15.00
16                 Fee – Domestic       $5.00 thereafter
                   ATM Withdrawal       1 waived per week at       $1.50 per
17                 – Domestic           BofA ATMs, $1.50 for       transaction
18                                      all others

19           43.     In addition, BofA has provided other CashPay debit card services in
20   Arizona, such as CashPay Debit Cards issued to Arizona state employees (i.e., the
21   Arizona CashPay Payroll Card Program), or cards issued to state retirement system
22   beneficiaries. These cards feature fees and other terms that are more favorable to
23   consumers than those associated with the BofA CashPay Debit Cards issued to Arizona
24
25
     2
       Bank of America, CashPay Card, Fee Information, available at
26   https://prepaid.bankofamerica.com/cashpay/Program/Fee (last visited September 29,
27   2016).
28   3
         Ex. F.

                                                   10
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 1   releasees. In short, the BofA CashPay Debit Cards have the most onerous set of features
 2   among any similar type of debit card BofA issues in Arizona.
 3           44.   Moreover, to the extent that BofA’s fees represent substantial percentages
 4   of Class members’ card balances – or worse, exceeds those balances (e.g., a releasee
 5   having to pay a $15.00 teller fee to withdraw a balance of $4.00), BofA’s scheme
 6   dissuades Arizona releasees from using BofA CashPay Debit Cards at all, which results
 7   in the constructive forfeiture or non-use of Arizona releasees’ own funds.
 8           45.   Upon information and belief, most or all of the fees that BofA charges bear
 9   no relation to the actual costs borne by BofA. For instance, there is no rational reason
10   that making a withdrawal at a teller window, as opposed to an ATM, should cost a
11   releasee (but not other consumers) $15.00. Similarly, using a debit card at an in-network
12   ATM (i.e., at a BofA ATM) normally does not result in a withdrawal fee.
13           46.   BofA has enriched itself at the Class members’ expense by charging
14   unfounded fees and erecting barriers to releasees’ accessing their own money, and
15   keeping that money for itself through constructive or actual forfeiture.
16           E.    Class Members Are An Especially Vulnerable Group
17           47.   Arizona releasees are among those individuals least able to afford the
18   unusual and unfair fees, and an overall fee structure that dissuades and/or penalizes card
19   use, which is thrust upon them by BofA.
20           48.   As one news outlet has reported, “experts say even small penalties can be
21   both more significant – and more insidious – for newly released prisoners, who tend to
22   have less money and banking experience, and face many other barriers to reintegrating
23   into society.”4 Companies like BofA can reap substantial profits on the backs of
24   releasees because they can exploit a unique, “(literally) captive market.” Id.
25
26
     4
       Marketplace, “How big bank turn prisons into profit centers,” Jan. 28, 2105, available
27
     at http://www.marketplace.org/topics/wealth-poverty/how-big-banks-turn-prisons-profit-
28   centers (last accessed September 29, 2016).


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 1           49.   An Arizona releasee who leaves a corrections facility with nothing more
 2   than the clothes on her back and a BofA CashPay Debit Card in her hand has no choice
 3   but to pay BofA’s fees to access his own money. As one releasee subject to an
 4   analogous federal program soberingly put it, because of the unfair fees associated with a
 5   debit card thrust upon him, “I left prison with $120. Because of the fees I was only able
 6   to use about $70 of it.”5
 7                                   CLASS ALLEGATIONS
 8           50.   Plaintiffs bring this action on behalf of themselves and all others similarly
 9   situated pursuant to Fed. R. Civ. P. 23(a), (b)(2), and (b)(3). This action satisfies the
10   numerosity, commonality, typicality, adequacy, predominance, and superiority
11   requirements of Rule 23.
12           51.   The proposed class is defined as:
13                 All persons released from an Arizona corrections facility who,
                   within the applicable statute of limitations preceding the filing
14
                   of this action through class certification, were issued a BofA
15                 CashPay Debit Card.
16   Plaintiffs reserve the right to modify or amend the definition of the proposed Class
17   before the Court determines whether certification is appropriate.
18           52.   Excluded from the Class is BofA, its parents, subsidiaries, affiliates,
19   officers and directors, any entity in which BofA has a controlling interest, all customers
20   who make a timely election to be excluded, governmental entities, and all judges
21   assigned to hear any aspect of this litigation, as well as their immediate family members.
22           53.   The members of the Class are so numerous that joinder is impractical. The
23   Class consists of many thousands of members, the identities of whom are within the
24
25
26   5
        Al Jazeera America, “‘Release cards turn inmates and their families into profit
     stream,” Apr. 20, 2015, available at
27
     http://america.aljazeera.com/articles/2015/4/20/release-cards-turn-inmates-and-their-
28   families-into-profit-stream.html (last accessed September 29, 2016).


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 1   knowledge of and can be ascertained only by resort to BofA’s records.
 2           54.   The claims of the representative Plaintiffs are typical of the claims of the
 3   Class in that the representative Plaintiffs, like all Class members, were issued BofA
 4   CashPay Debit Cards upon their release from an Arizona corrections facility. The
 5   representative Plaintiffs, like all Class members, have been damaged by BofA’s
 6   misconduct in that they have been harmed by the same types of deceptive, misleading,
 7   and/or fraudulent pretenses and practices. Furthermore, the factual basis of BofA’s
 8   misconduct is common to all Class members, and represents a common thread of unfair
 9   and unconscionable conduct resulting in injury to all members of the Class.
10           55.   There are numerous questions of law and fact common to the Class and
11   those common questions predominate over any questions affecting only individual Class
12   members.
13           56.   Among the questions of law and fact common to the Class are whether
14   BofA:
15                 a.     Wrongfully converted the funds of the Class;
16                 b.     Was unjustly enriched through the company’s actions;
17                 c.     fraudulently concealed its past and ongoing wrongful conduct from
18                        Plaintiffs and other members of the Class (to the extent applicable);
19                        and
20                 d.     Violated consumer protection and other state laws.
21           57.   Other questions of law and fact common to the Class include:
22                 a.     The proper method or methods by which to measure damages; and
23                 b.     The declaratory and injunctive relief to which the Class is entitled,
24                        including but not limited to rescission or reformation.
25           58.   Plaintiffs have suffered the harm alleged and have no interests antagonistic
26   to the interests of any other Class member.
27           59.   Plaintiffs are committed to the vigorous prosecution of this action and
28   have retained competent counsel experienced in the prosecution of class actions and, in


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 1   particular, class actions on behalf of consumers. Accordingly, Plaintiffs are adequate
 2   representatives and will fairly and adequately protect the interests of the Class.
 3          60.    A class action is superior to other available methods for the fair and
 4   efficient adjudication of this controversy. Since the amount of each individual Class
 5   member’s claim is small relative to the complexity of the litigation, the vulnerability of
 6   the class and the virtually unlimited financial resources of BofA, no Class member could
 7   afford to seek legal redress individually for the claims alleged herein. Therefore, absent
 8   a class action, the Class members will continue to suffer losses and BofA’s misconduct
 9   will proceed without remedy.
10          61.    Even if Class members themselves could afford such individual litigation,
11   the court system could not. Individualized litigation would significantly increase the
12   delay and expense to all parties and to the Court. Individualized litigation would also
13   create the potential for inconsistent or contradictory rulings. By contrast, a class action
14   presents far fewer management difficulties, allows claims to be heard which might
15   otherwise go unheard because of the relative expense of bringing individual lawsuits,
16   and provides the benefits of adjudication, economies of scale and comprehensive
17   supervision by a single court.
18                                        COUNT ONE
                                        Unjust Enrichment
19
20          62.    Plaintiffs repeat the preceding paragraphs as if set forth fully herein.
21          63.    By means of BofA’s wrongful conduct alleged herein, BofA knowingly
22   and forcibly caused Plaintiffs and members of the Class to receive and to use the BofA
23   CashPay Debit Card by or under fraudulent, unfair, deceptive, coercive, unconscionable,
24   and/or oppressive means or conditions.
25          64.    BofA knowingly received and retained wrongful benefits from Plaintiffs
26   and members of the Class. In so doing, BofA acted intentionally or with conscious
27   disregard for the rights of Plaintiffs and members of the Class.
28          65.    As a result of BofA’s wrongful conduct as alleged herein, BofA has been


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 1   unjustly enriched at the expense, and to the detriment, of Plaintiffs and members of the
 2   Class.
 3             66.   BofA’s unjust enrichment is traceable to, and resulted directly and
 4   proximately from, the wrongful conduct alleged herein.
 5             67.   It is unfair and inequitable for BofA to be permitted to retain the benefits it
 6   received, and is still receiving, without justification, from the wrongful conduct alleged
 7   herein.
 8             68.   The financial benefits derived by BofA rightfully belong to Plaintiffs and
 9   members of the Class, in whole or in part. BofA should be compelled to account for and
10   disgorge in a common fund for the benefit of Plaintiffs and members of the Class all
11   wrongful or inequitable proceeds received from them, including but not limited to total
12   disgorgement of all funds placed onto CashPay Debit Card accounts, and/or the amounts
13   of fees incurred. A constructive trust should be imposed upon all wrongful or
14   inequitable sums received by BofA traceable to Plaintiffs and the members of the Class.
15             69.   Plaintiffs and members of the Class have no choice but to take the BofA
16   CashPay Debit Card, and have no adequate remedy at law.
17             70.   BofA’s fraudulent, unfair, deceptive, coercive, unconscionable, unilateral,
18   and/or oppressive conduct amounts to an illusory promise, and/or demonstrates a lack of
19   mutual consideration, rendering any agreement that may exist unenforceable,
20   unconscionable, inequitable, void, or voidable.
21                                           COUNT TWO
22                                            Rescission

23             71.    Plaintiffs repeat the preceding paragraphs as if set forth fully herein.

24             72.   In the alternative to Count One, in the event a valid agreement is found to

25   exist between BofA and members of the Class, and/or the placement of or access to

26   balances on CashPay Debit Card accounts is not deemed to be improper, any such

27   agreement should be rescinded.

28             73.   Consent by Plaintiffs and members of the Class to the terms governing the


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 1   BofA CashPay Debit Card, including the fee schedule and initial and continued
 2   placement of funds on the cards, was not real or free, and/or was given under force,
 3   mistake, duress, coercion, fraud, and/or without consent or mutual material
 4   consideration.
 5          74.    The terms governing the BofA CashPay Debit Card, including the fee
 6   schedule and the initial and continued placement of funds on the cards, were not fully
 7   disclosed to Plaintiffs and members of the Class. Thus, Plaintiffs and members of the
 8   Class lacked proper notice concerning such terms.
 9          75.    The terms governing the BofA CashPay Debit Card, including the fee
10   schedule and the initial and continued placement of funds on the cards, contain
11   undisclosed, confusing, misleading, or abstruse conditions and terminology. BofA
12   unilaterally drafted and imposed these fees and other terms on Plaintiffs and the Class,
13   which renders any agreement between BofA and Plaintiffs and members of the Class an
14   unenforceable contract of adhesion.
15          76.    Moreover, Plaintiffs and other members of the Class were forced or
16   induced to enter into any agreement governing the BofA CashPay Debit Card by fraud
17   or deceit, insofar as BofA misrepresented or omitted the full terms, nature, and fees
18   associated with the debit cards. For example:
19                 (i)     terms were not fully disclosed to Plaintiffs or members of the Class;
20                 (ii)    money was placed and kept on the BofA CashPay Debit Cards
21                         without consent and according to a scheme or structure that
22                         dissuaded or disincentivized Plaintiffs’ and Class members’ use of
23                         their own funds; and
24                 (iii)   BofA representatives, at times, cannot even adequately or
25                         accurately assist Class members with accessing or understanding
26                         the amounts on the BofA CashPay Debit Cards.
27          77.    BofA intended, knew, or reasonably should have known, that
28   representations and omissions it has made and continues to make in connection with the


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 1   BofA CashPay Debit Card were materially false, deceptive, and misleading.
 2            78.   As a direct and proximate result of BofA’s conduct alleged herein,
 3   Plaintiffs and members of the Class believed, and reasonably so, that they had no choice
 4   to receive their money that was loaded on the BofA CashPay Debit Card than to accept
 5   and use the card.
 6            79.   With any possible consent given only under force, mistake, fraud,
 7   coercion, duress, and/or oppression, as set forth above, Plaintiffs seek rescission of any
 8   allegedly valid agreement governing the BofA CashPay Debit Card and restitution for all
 9   fees incurred, or return of card balances, on behalf of themselves and members of the
10   Class.
11                                        COUNT THREE
                                           Reformation
12
              80.   Plaintiffs repeat the preceding paragraphs as if set forth fully herein.
13
              81.   In the alternative to Counts One and Two, in the event a valid agreement is
14
15
     found to exist between BofA and members of the Class, any such agreement should be

16   reformed.

17            82.   Consent by Plaintiffs and members of the Class to the terms governing the

18   BofA CashPay Debit Card, including the fee schedule and the initial and continued

19   placement of funds on the cards, was not real or free, and/or was given under force,

20   mistake, duress, coercion, fraud, and/or without consent or mutual material

21   consideration.

22            83.   The terms governing the BofA CashPay Debit Card, including the fee

23   schedule and the initial and continued placement of funds on the cards, were not fully

24   disclosed to Plaintiffs and members of the Class. Thus, Plaintiffs and members of the

25   Class lacked proper notice concerning such terms.

26            84.   The terms governing the BofA CashPay Debit Card, including the fee

27   schedule and the initial and continued placement of funds on the cards, contain
28   undisclosed, confusing, misleading, abstruse conditions and terminology. BofA


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 1   unilaterally drafted and imposed these terms on Plaintiffs and the Class, which renders
 2   any agreement between BofA and Plaintiffs and members of the Class an unenforceable
 3   contract of adhesion.
 4          85.    Plaintiffs and other members of the Class were induced to enter into any
 5   agreement governing the BofA CashPay Debit Card, insofar as BofA misrepresented or
 6   omitted the full terms and true fees associated with the inmate debit cards. For example:
 7                 (i)     terms were not fully disclosed to Plaintiffs or members of the Class;
 8                 (ii)    money was placed and kept on the BofA CashPay Debit Cards
 9                         without consent and according to a scheme or structure that
10                         dissuaded or disincentized Plaintiffs’ and Class members’ use of
11                         their own funds;
12                 (iii)   BofA representatives, at times, cannot even adequately or
13                         accurately assist Class members with accessing or understanding
14                         the amounts on the BofA CashPay Debit Cards.
15          86.    BofA intended, knew, or reasonably should have known, that
16   representations and omissions it has made and continues to make in connection with the
17   BofA CashPay Debit Card were materially false, deceptive, and misleading.
18          87.    BofA’s fraud or bad faith is further evidence by its breach of the implied
19   covenant of good faith and fair dealing.
20          88.    By common law or statute, the terms governing the BofA CashPay Debit
21   Card impose upon each party a duty of good faith and fair dealing. Good faith and fair
22   dealing, in connection with executing contracts and discharging performance and other
23   duties according to their terms, means preserving the spirit – not merely the letter – of
24   the bargain. Put differently, the parties to a contract are mutually obligated to comply
25   with the substance of their contract in addition to its form. Evading the spirit of the
26   bargain and abusing the power to specify terms constitute examples of bad faith in the

27   performance of contracts.

28          89.    Subterfuge and evasion violate the obligation of good faith in performance


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 1   even when an actor believes their conduct to be justified. Bad faith may be overt or may
 2   consist of inaction, and fair dealing may require more than honesty. Examples of bad
 3   faith are evasion of the spirit of the bargain, willful rendering of imperfect performance,
 4   abuse of a power to specify terms, and interference with or failure to cooperate in the
 5   other party’s performance.
 6          90.    BofA has breached the covenant of good faith and fair dealing through its
 7   wrongful actions alleged herein, through both affirmative misrepresentations and
 8   purposeful omissions, and Plaintiffs and members of the Class have suffered damages as
 9   a result.
10          91.    In addition, any agreement between BofA and Plaintiffs and members of
11   the Class not only evidences BofA’s fraud or bad faith as set forth above, but also
12   accident or mistake.
13          92.    The same conduct set forth above could also demonstrate a mutual
14   mistake, insofar as both sides to any agreement governing the terms of the BofA
15   CashPay Debit Card would understand and believe that deposits could be made. In
16   addition, both sides to any agreement were mutually mistaken insofar as BofA
17   representatives have been unable to report balances or facilitate transactions. This
18   reveals a potential misunderstanding of each other’s intent based on the terms governing
19   the relationship, to the extent that such a relationship is found to have been validly
20   formed. Further, mutual mistakes were relied on by BofA and Plaintiffs and members of
21   the Class.
22          93.    Accordingly, to the extent the releasees and BofA have entered into any
23   form of an agreement, the agreement should be reformed with reasonable and fair terms
24   that are specific and determinable.
25          94.    As a direct and proximate result of BofA’s conduct alleged herein,
26   Plaintiffs and members of the Class believed, and reasonably so, that they had no choice
27   to receive their money that was loaded on the BofA CashPay Debit Card than to accept
28   and use the card.


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 1                                          COUNT FOUR
                                             Conversion
 2
 3            95.    Plaintiffs repeat the preceding paragraphs as if set forth fully herein.
 4            96.    BofA had and continues to have a duty to maintain and preserve the funds
 5   of Plaintiffs and members of the Class, and to prevent their diminishment through their
 6   own wrongful acts.
 7            97.    By placing Plaintiffs’ and Class members’ funds into BofA inmate debit
 8   card accounts without consent, failing to inform them of material terms, making it
 9   difficult to understand the fees associated with those accounts, charging unusual fees in
10   connection with the BofA CashPay Debit Card, and creating a scheme that dissuades or
11   disincentivizes use of one’s own money, BofA has, without proper authorization,
12   assumed and exercised the right of ownership over these funds, in hostility to the rights
13   of Plaintiffs and Class members without legal justification.
14            98.    BofA has wrongfully asserted possession, collected fees, or created a
15   scheme and circumstances that dissuades or disincentivizes use of one’s own money
16   from Plaintiffs and members of the Class. BofA has taken specific and readily
17   identifiable funds from their accounts in payment of such fees in order to satisfy them.
18            99.    BofA continues to retain these funds unlawfully and without the consent or
19   Plaintiffs or other members of the Class.
20            100.   BofA intends to permanently deprive Plaintiffs and the Class of these
21   funds.
22            101.   These funds are properly owned and identifiable by Plaintiffs and
23   members of the Class, not BofA. Yet, BofA now claims that it is entitled to the funds’
24   ownership or control, contrary to the rights of the Plaintiffs and members of the Class.
25            102.   Plaintiffs and the members of the Class are entitled to immediate
26   possession of these funds. BofA have wrongfully converted these specific and readily
27   identifiable funds.
28            103.   As a direct and proximate result of this wrongful conversion, Plaintiffs and


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 1   members of the Class have suffered and continue to suffer damages. BofA’s wrongful
 2   conduct is continuing.
 3           104.   By reason of the foregoing, Plaintiffs and the members of the Class are
 4   entitled to recover from BofA all damages and costs permitted by law, including all
 5   amounts that BofA have wrongfully converted.
 6                                        COUNT FIVE
                                   Arizona Consumer Fraud Act
 7
 8           105.   Plaintiffs repeat the preceding paragraphs as if set forth fully herein.
 9           106.   The Arizona Consumer Fraud Act, § 44-1521, et seq. prohibits the “use or
10   employment . . . of any deception, deceptive or unfair act or practice, fraud, false
11   pretense, false promise, misrepresentation, or concealment, suppression or omission of
12   any material fact with intent that others rely upon such concealment, suppression, or
13   omission.”
14           107.   BofA has engaged in practices violative of the Arizona Consumer Fraud
15   Act, as alleged herein. For example, Plaintiffs and members of the Class obtained
16   unwanted and unrequested services in the form of debit card services. BofA engaged in
17   unlawful conduct, made affirmative misrepresentations or omissions, or otherwise
18   violated the Arizona Consumer Fraud Act by, inter alia, knowingly, intentionally,
19   recklessly and negligently misleading Plaintiffs and members of the Class about the
20   terms, fees, and other features or conditions associated with the BofA CashPay Debit
21   Card.
22           108.   Further, BofA has violated the Arizona Consumer Fraud Act by forcing
23   releasees into this disadvantageous relationship. If inmates want to access their own
24   money, they are required to use a BofA CashPay Debit Card, and to be subjected to the
25   deceptive or unfair fees, terms, and structure that dissuades or disincentivizes use.
26           109.   To the extent applicable, BofA intended that Plaintiffs and other members
27   of the Class would rely on the company’s misrepresentations, or acts of concealment and
28   omissions, including those in connection with the BofA CashPay Debit Card terms or


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 1   fee schedule. Further, to the extent applicable, reliance can be presumed under the
 2   circumstances.
 3          110.   BofA’s conduct proximately caused Plaintiffs and members of the Class to
 4   suffer palpable injury, including but not limited to transaction-related fees that would
 5   otherwise not have been incurred in whole or in part, and the dissuasion or disincentive
 6   to use one’s own money due to the structure and nature of the BofA CashPay Debit Card
 7   program.
 8          111.   As redress for BofA’s repeated and ongoing violations, Plaintiffs and the
 9   Class are entitled to, inter alia, damages and declaratory or injunctive relief.
10                                    PRAYER FOR RELIEF
11          WHEREFORE, Plaintiffs and the Class demand a jury trial on all claims so
12   triable and judgment as follows:
13          1.     Declaring BofA’s conduct alleged herein to be fraudulent, deceptive,
14                 wrongful, unfair, inequitable, and unconscionable;
15          2.     Restitution owing to Plaintiffs and the Class as a result of the wrongs
16                 alleged herein in an amount to be determined at trial;
17          3.     An accounting and disgorgement of the ill-gotten gains derived by BofA’s
18                 misconduct, including but not limited to BofA’s relinquishment of any
19                 funds properly possessed or owed to Plaintiffs and the Class;
20          4.     Actual damages in an amount according to proof, including double or
21                 treble damages to the extent permitted by law or equity;
22          5.     A temporary and permanent injunction enjoining BofA from engaging in
23                 the same wrongful conduct going forward;
24          6.     Punitive and exemplary damages;
25          7.     Pre-judgment and post-judgment interest at the maximum rate permitted
26                 by applicable law;
27          8.     Costs and disbursements assessed by Plaintiffs in connection with this
28                 action, including reasonable attorneys’ fees;


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 1       9.    Rescission of the agreement between the parties;
 2       10.   Reformation of the agreement between the parties; and
 3       11.   Such other relief as this Court deems just and proper.
 4
 5       DATED this 3rd day of November, 2016.
 6                                         ANAPOL WEISS
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 8
 9                                           /s Jo Ann Niemi
10                                         Jo Ann Niemi
                                           Attorney for Plaintiffs
11
12
                                           GOLOMB & HONIK, P.C.
13                                         Ruben Honik (pro hac vice pending)
14                                         David J. Stanoch (pro hac vice pending)
                                           1515 Market Street, Suite 1100
15                                         Philadelphia, PA 19102
16                                         Phone:        (215) 985-9177
                                           Fax: (215) 985-4169
17                                         Email: rhonik@golombhonik.com
18                                                dstanoch@golombhonik.com

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